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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division

                     Case No.: 20-22051-CIV-GAYLES-OTAZO-REYES

  SISVEL INTERNATIONAL S.A., 3G
  LICENSING S.A., and SISVEL S.p.A.,

              Plaintiffs,
  v.

  HMD AMERICA, INC. and HMD
  GLOBAL OY,

              Defendants.



              DEFENDANTS HMD AMERICA, INC. AND HMD GLOBAL OY’S
          MOTION TO STAY LITIGATION PENDING INTER PARTES REVIEW
                        AND MEMORANDUM OF LAW
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          Defendants HMD America, Inc., and HMD Global Oy (“HMD”), by and through

   counsel, pursuant to Local Rule 7.1, respectfully move this Court to stay this action in view of

   inter partes review petitions challenging the validity of all nine asserted patents in this case

                                      MEMORANDUM OF LAW

   I.     INTRODUCTION
          This action should be stayed because inter partes reviews (“IPRs”) before the U.S. Patent

   and Trademark Office are likely to invalidate all or most of the nine asserted patents. At a

   minimum, the IPRs will significantly narrow the issues and scope of discovery and trial in this

   case. The parties and the Court should not waste their resources in litigating patents that are likely

   to be invalidated in the IPRs.

          A stay would not unduly prejudice Plaintiffs (“Sisvel”) or put them at a clear tactical

   disadvantage. Sisvel is a non-practicing entity whose business is to monetize its patents. The

   remedy for any patent infringement in this case would be monetary damages, which is the only

   remedy expressly sought by Sisvel. A stay would not diminish Sisvel’s ability to recover damages,

   and pre-judgment interest would account for any delay. A stay would simplify the issues and

   scope of the case for trial. HMD expects that all or most of the Sisvel patents asserted here will

   be invalidated by the IPRs. Even if fewer than all asserted patents are invalidated, that would

   significantly reduce the scope of the case. A stay would be appropriate at this time because the

   present case is at an early stage. No fact depositions have been taken, document discovery is still
   in process, and deadlines for expert discovery and trial are subject to planned modification. A stay

   would be especially appropriate now, before the parties and Special Master for claim construction

   invest significant time for the Markman hearing and subsequent report and recommendation of the

   Special Master. Furthermore, a stay in view of the IPRs would have less impact on this case than

   under ordinary circumstances because a significant enlargement of the schedule is already

   necessary to accommodate (1) the Special Master for claim construction (as addressed at the

   Court’s previous hearings), and (2) the pending discovery from the European Telecommunications

   Standards Institute sought through a letter of request pursuant to the Hague Convention.


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   II.    BACKGROUND
          Plaintiffs are non-practicing entities that do not manufacture or commercialize any

   products. Their business is to try to monetize patents. Sisvel and its affiliates have filed nearly 50

   patent lawsuits in U.S. District Courts.

          HMD Global Oy owns the rights to make and sell mobile phones under the famous Nokia

   brand. HMD America distributes Nokia phones in the U.S.

          The present action is part of a large litigation campaign in which Sisvel has asserted many

   patents against many defendants in two groups of lawsuits referred to here as the “Sisvel 1” and

   “Sisvel 2” actions. The present lawsuit against HMD is one of the Sisvel 2 actions.1

          The patents asserted in the Sisvel 1 and Sisvel 2 actions are of low technical merit and

   value. Sisvel’s patent portfolio includes many patents discarded by the original owners and

   acquired in bulk by Sisvel, like those asserted here. It is common practice for companies that

   develop large patent portfolios to sell off their less valuable patents over time. A major reason for

   this practice is that a patent owner must pay maintenance fees several times after a patent issues to

   keep it in force. Each maintenance fee is thousands of dollars per patent,2 and these fees can

   become onerous for companies that own many patents. As a result, companies with large patent

   portfolios often review their patents over time to identify patents that are valuable and warrant

   paying maintenance fees and, conversely, to identify patents that are not valuable enough to

   warrant paying maintenance fees. Companies often sell off such low value patents in bulk to patent

   aggregators like Sisvel. The Sisvel 1 and Sisvel 2 patents are examples of such low value patents.
          Beginning in June 2019, Sisvel selected a first group of 12 patents that were originally

   developed and owned by Nokia and Blackberry and filed a group of 11 lawsuits that comprise the

   Sisvel 1 cases. See Appendix 1. Sisvel contends that the Sisvel 1 patents are “essential” to various

   aspects of the 2G, 3G, and 4G telecommunications standards. According to Sisvel, complying


   1
     For the Court’s reference, Appendix 1 lists (a) the Sisvel 1 cases, (b) the IPRs for the Sisvel 1
   patents, (c) the Sisvel 2 cases, and (d) the IPRs for the Sisvel 2 patents.
   2
     The USPTO’s patent maintenance fee schedule is available at https://www.uspto.gov/learning-
   and-resources/fees-and-payment/uspto-fee-schedule#Patent%20Maintenance%20Fee.


                                                     2
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   with these standards requires practicing the claims of the Sisvel 1 patents. The 2G, 3G, and 4G

   standards are issued by the European Telecommunications Standards Institute (“ETSI”).

           Some of the Sisvel 1 defendants filed IPR petitions at the U.S. Patent and Trademark Office

   (“USPTO”) that challenge the validity of the patents. See Appendix 1. Recently, the USPTO

   instituted trial for IPRs for 11 of 12 of the patents asserted in the Sisvel 1 cases, finding “there is

   a reasonable likelihood that the petitioner[s] would prevail [on invalidity] with respect to at least

   1 of the claims challenged in the petition[s]” under 35 U.S.C. § 314. These IPRs challenge the

   validity of 65 of 66 of the asserted patent claims in the Sisvel 1 cases.

           Facing the prospect that the USPTO is likely to find 11 of 12 of the asserted patents in the

   Sisvel 1 cases to be invalid, Sisvel stipulated to a stay for six of the Sisvel 1 cases pending in

   Delaware and the Northern District of Texas. The defendants in the other Sisvel 1 cases have

   either settled or have agreed not to contest validity.

           In May 2020, Sisvel selected a second group of nine patents that were originally developed

   by Nokia, Blackberry, and LG Electronics and filed a group of 13 lawsuits that comprise the

   Sisvel 2 cases. See Appendix 1. The present lawsuit against HMD is one of the Sisvel 2 cases.

   Sisvel originally filed this action against HMD on May 15, 2020, but waited until July 9, 2020,

   before attempting to serve the complaint on HMD. ECF No. 6. HMD is not a party to any Sisvel 1

   case, but many of the defendants in the Sisvel 1 cases were also sued in the Sisvel 2 cases.

           The present action is the first of the Sisvel 2 cases to begin claim construction proceedings.
   No other court has considered the meaning of the disputed claim terms of the asserted patents in

   this case.

           The Sisvel 2 actions are large and complex because the nine asserted patents are unrelated

   to each other and concern different aspects of cellular communications technology. The nine

   asserted patents in the Sisvel 2 cases are listed below:




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      Asserted U.S.                                                            Current &
                                           Title
     Patent Number                                                          Original Assignee

    7,979,070                                                       Sisvel Int’l S.A.
                          Mobile equipment for sending an attach
                          request to a network
    (“the ’070 patent”)                                             Nokia

                          System and method for resolving
    8,189,611             contention among applications requiring   3G Licensing S.A.
                          data connections between a mobile
    (“the ’611 patent”)   communications device and a wireless      BlackBerry
                          network

                          Apparatus and method for making
    8,600,383                                                       3G Licensing S.A.
                          measurements in mobile
                          telecommunications system user
    (“the ’383 patent”)                                             BlackBerry
                          equipment

    7,215,653             Controlling data transmission rate on the 3G Licensing S.A.
                          reverse link for each mobile station in a
    (“the ’653 patent”)   dedicated manner                          LG Electronics

    7,869,396                                                       Sisvel S.p.A.
                          Data transmission method and data re-
                          transmission method
    (“the ’396 patent”)                                             LG Electronics

    8,971,279             Method and apparatus for indicating       Sisvel S.p.A.
                          deactivation of semi-persistent
    (“the ’279 patent”)   scheduling                                LG Electronics

    7,319,718                                                       3G Licensing S.A.
                          CQI coding method for HS-DPCCH
    (“the ’718 patent”)                                             LG Electronics

    7,551,625             Method of scheduling an uplink packet     3G Licensing S.A.
                          transmission channel in a mobile
    (“the ’625 patent”)   communication system                      LG Electronics

                          Method and apparatus for providing
    7,580,388                                                       3G Licensing S.A.
                          enhanced messages on common control
                          channel in wireless communication
    (“the ’388 patent”)                                             LG Electronics
                          system

          Sisvel asserts that the Sisvel 2 patents are essential to various aspects of the 3G and 4G

   telecommunications standards. HMD contends that the nine asserted patents are not infringed

   and/or are invalid. HMD further contends that, to the extent the asserted patents are essential,

   Sisvel and/or the original owners of the patents breached their promises to ETSI (the standards




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   setting organization) and their members to license the patents on Fair Reasonable and Non-

   Discriminatory (“FRAND”) terms.3

          Some of the defendants in the Sisvel 2 cases filed IPR petitions against all nine asserted

   patents, including all 29 patent claims asserted against HMD. See Appendix 1. The first petition

   was filed on March 4, 2021, and the last petition was filed on June 17, 2021. See Appendix 1.

   Institution decisions by the USPTO are expected in September 2021 through November 2021. The

   USPTO must normally issue final written decisions within one year of the time the USPTO notices

   institution of IPRs. 35 U.S.C. § 316(a)(11).

          On June 21, 2021, in the Sisvel 2 case against ZTE, the Northern District of Texas denied

   without prejudice ZTE’s motion to stay its case prior to an institution decision in the IPRs, although

   that case has since been stayed for settlement discussions. Sisvel International SA v. ZTE (USA),

   Inc., No. 20-cv-1289 (N.D. Tex.), ECF Nos. 43, 47.

          More recently, on July 9, 2021, the District of Delaware stayed six pending Sisvel 2 cases

   in view of the substantial overlap between Sisvel’s patents and issues in both the Sisvel 1 and 2

   cases—before any institution decisions have been reached. See Sisvel International SA v. Dell

   Inc., No. 20-cv-649 (D. Del. July 9, 2021). The Delaware court stayed the Sisvel 2 cases against

   six defendants, including Xirgo and Verifone, which like HMD are not parties to the IPR

   proceedings, and TCL and Wiko, which like HMD are not parties to the Sisvel 1 cases.

   III.   LEGAL STANDARDS
          “Courts generally enjoy broad discretion in deciding how best to manage the cases before

   it.” Targus Int’l LLC v. Group III Int’l, Inc., Civil Action No. 20-21435, 2021 WL 542675, at *1

   (S.D. Fla. Jan. 8, 2021) (citing Johnson v. Bd. of Regents of Univ. of Ga., 263 F. 3d 1234, 1269

   (11th Cir. 2001)). This principle soundly applies when a stay of litigation is sought pending an

   administrative proceeding to challenge the validity of a patent before the patent office. Id. (“[T]he


   3
    A patent holder’s commitment to license its patents on FRAND terms is the quid pro quo for
   adoption of the patent holder’s technology into the standard. Otherwise, patent holders could
   extract monopoly prices for technology mandated for standards-compliance.


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   decision to stay related civil patent infringement litigation is within the sound discretion of the

   district court.”) (citation omitted).

           “Courts recognize a ‘liberal policy in favor of granting stays pending reexamination of the

   validity of patent claims.’” Rothschild Storage Retrieval Innovations LLC v Motorola Mobility

   LLC, Civil Action No. 14-22659, 2015 WL 12715618, at *1 (S.D. Fla. May 11, 2015) (citation

   omitted). “Stays pending IPR are routinely granted ‘in order to avoid inconsistent results, obtain

   guidance from the PTAB, or avoid needless waste of judicial resources.’” Id. (citation omitted).

           In determining whether a stay pending IPR is appropriate, Courts consider “(1) whether

   the stay will unduly prejudice or present a clear tactical disadvantage to the nonmoving party;

   (2) whether the stay will simplify issues in question and trial of the case; and (3) whether discovery

   is complete and whether a trial date has been set.” Targus, 2021 WL 542675, at *2. Courts also

   “consider whether the totality of the circumstances and the interests of justice favor a stay.” Prisua

   Eng’g Corp. v. Samsung Elecs. Co., 472 F. Supp. 3d 1183, 1186 (S.D. Fla. 2020).

   IV.     ARGUMENT
           In this case, all three factors that the Court should consider and the totality of circumstances

   favor a stay.

           A.      Sisvel Is A Non-Practicing Entity That Would Not Be Unduly Prejudiced
                   By A Stay Or Be Placed At A Clear Tactical Disadvantage
           A stay would not unduly prejudice or present a clear tactical disadvantage to Sisvel. Sisvel

   is a non-practicing entity. A stay will not unduly prejudice Sisvel because it does not sell products,
   use the technology in its patents, or compete with HMD. Intell. Ventures I, LLC v. Motorola

   Mobility LLC, Case No. 1-61358-CIV, 2014 WL 12584301, at *2 (S.D. Fla. July 17, 2014) (“[T]he

   stay will not unduly prejudice Plaintiffs, who are non-practicing entities not seeking an

   injunction.”); see also Prisua Eng’g Corp., 472 F. Supp. 3d at 1186 (“[A] stay is unlikely to

   materially prejudice Plaintiff because Plaintiff and Defendants are not direct competitors ….”).

   Sisvel is not seeking an injunction (see Complaint), so this is not a case where a competitor faces

   prejudice because it is forced to compete with a potential infringer during the period of stay. Cf.



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   Targus, 2021 WL 542675, at *2 (acknowledging that “courts often recognize” that direct

   competitors face prejudice during the period of stay.) The same remedies that are available to

   Sisvel now will also be available to Sisvel after a stay, including monetary damages and pre-

   judgment interest. Rothschild, 2015 WL 12715618, at *2 (holding first factor favored stay because

   plaintiff “will have the same remedies available to it that it does now—namely monetary damages

   and pre-judgment interest for the action’s pendency.”); see also Targus, 2021 WL 542675, at *2

   (“Targus has not sought a preliminary injunction and, thus, any further harm occasioned by the

   stay may be ameliorated by monetary damages.”)

          Sisvel cannot show that it will be unduly prejudiced or suffer tactical disadvantage because

   a “delay in the litigation does not establish undue prejudice.” Prisua Eng’g Corp., 472 F. Supp.

   3d at 1186; Targus, 2021 WL 542675, at *2 (“[S]tanding alone, the potential for litigation delay

   does not establish undue prejudice.”) (citation omitted). Sisvel should not be heard to complain

   about delay because it waited a significant time after acquiring some of the asserted patents before

   asserting them against HMD. Sisvel acquired the asserted patent formerly owned by Nokia in

   April 2012—eight years before suing HMD in May 2020. Sisvel acquired the two asserted patents

   formerly owned by Blackberry in April 2019—one year before suing HMD. Sisvel acquired the

   six asserted patents formerly owned by LG Electronics in September 2019 and February 2020.

   ECF No. 1 at ¶¶ 26, 27. After filing the complaint in this action, Sisvel waited another two months

   before serving HMD.
          Any delay to this litigation from a stay in view of the IPRs would extend through the one-

   year period in which the IPR trials will occur and the USPTO will issue its final written decisions

   (plus possible appellate review). Such limited delay is outweighed by the many benefits offered

   by the cost-effective and efficient patent office IPR procedure. In Targus, Judge Scola stayed a

   patent lawsuit, finding that the delay due to a stay pending IPR is outweighed by the potential

   advantages of the IPR:

                  The Court finds, in this case, such a delay is outweighed by the
                  many recognized potential advantages of inter partes review:
                  “(1) furthering judicial economy; (2) determining validity;


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                  (3) focusing the issues, defenses, and evidence; (4) developing the
                  prior art and prosecution history; (5) obtaining the PTO’s
                  particular expertise; (6) encouraging settlement; and (7) reducing
                  costs to the parties.”
   2021 WL 542675, at *2 (citation omitted).

          B.      A Stay Would Significantly Simplify The Issues
          A stay would significantly simplify the issues in question and trial in this case because the

   IPRs for the Sisvel 2 patents are likely to invalidate all or most of the asserted patents. The

   circumstances show that the USPTO is likely to institute IPR trials and find that all or nearly all

   of the Sisvel 2 patents are invalid. Even if only some IPR trials are instituted, this Court will

   benefit from the focused and skilled analysis that the USPTO would provide concerning the

   patents, claims, and prior art.

                  1.      The IPRs Will Likely Invalidate All Or Most Of The Asserted Patents
          The USPTO instituted trial for 11 of 12 Sisvel 1 patents, finding a reasonable likelihood

   that at least one claim of those 11 patents is invalid. Sixty five of 66 patent claims asserted by

   Sisvel are now subject to invalidation by the very office that granted them. The fact that the

   USPTO instituted IPR trials for 65 of 66 of Sisvel’s asserted patent claims is reflective of the low

   technical merit and value of Sisvel’s patents. All or the vast majority of these claims are likely to

   be invalidated. The USPTO statistics for fiscal years 2019 and 2020, following institution,

   70 percent and 73 percent, respectively, of challenged claims that were addressed in a final written

   decision were found invalid. Declaration of Gene Lee (“Lee Declaration”) Exhibit 1 at 23, 4




   4
     Exhibit 1 is the Appendix for the USPTO Patent Trial and Appeal Board’s (PTAB’s) trial
   statistics for fiscal year 2020. Slide 23 shows PTAB trial outcomes for fiscal year 2019. 20,247
   patent claims were challenged in petitions (nearly all IPRs), of which 11,038 were instituted for
   trial. Of the claims for which trial was instituted, 7,185 were the subject of a final written decision,
   of which 5,045 were found to be unpatentable (i.e., invalid)—an invalidation rate of 70 percent.
   Of claims for which trial was instituted, 3,350 were not subject to a final written decision, mostly
   because the trial settlement (3,350 claims were “No FWD” in slide 23).



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   Exhibit 2 at 15.5 Sisvel apparently expects that all or nearly all of the Sisvel 1 patents will be

   invalidated because Sisvel stipulated to a stay of the Sisvel 1 cases.

          The Sisvel 2 patents are similarly of low value and technical merit, and the IPRs will likely

   invalidate all or nearly all of the Sisvel 2 patents. The Sisvel 1 and Sisvel 2 patents all relate to

   cellular communications technology, and Sisvel asserts that they are essential to the 3G and 4G

   communications standards. Like the Sisvel 1 patents, the Sisvel 2 patents were discarded by their

   original owners and acquired in bulk by Sisvel. In fact, three of the Sisvel 2 patents were acquired

   from Nokia and Blackberry as part of the same portfolios in which Sisvel acquired the Sisvel 1

   patents, and the USPTO’s subsequent treatment of those portfolios is instructive. IPR trials have

   been already instituted on four of the patents in the Nokia portfolio by which Sisvel acquired the

   ’070 Patent, and on seven of the patents in the Blackberry portfolio by which Sisvel acquired the

   ’611 and ’383 patents.

                  2.        The IPRs Will Likely Significantly Simplify The Issues And Reduce
                            The Scope Of This Case
          If the IPRs invalidate all of the Sisvel 2 patents, this case would end. Rothschild, 2015 WL

   12715618, at *1 (“[T]his case may become moot if the Patent Board invalidates the asserted

   claims.”); Intell. Ventures I, 2014 WL 12584301, at *2 (“[I]f the parties continue to litigate validity

   issues before this Court, and the PTO subsequently finds that some or all of the claim at issue here

   are invalid, much time and resource will have been wasted by the Court and the Parties.”) Even if

   the IPRs invalidate fewer than all patents or claims, they would significantly simplify the issues
   and reduce the scope of this case for discovery and trial. Rothschild, 2015 WL 12715618, at *2

   (“Even if only some of the claims are canceled by the PTAB, those claims will not need to be


   5
     Exhibit 2 is the USPTO PTAB’s trial statistics for fiscal year 2020. Slides 15-16 shows PTAB
   trial outcomes for fiscal year 2020 in a different format than slide 23 of Exhibit 1. 18,019 patent
   claims were challenged in petitions (nearly all IPRs), of which 9,663 were instituted for trial. Of
   the claims for which trial was instituted, 6,977 (1,852 + 5,125) were the subject of a final written
   decision, of which 5,125 were found to be unpatentable (i.e., invalid)—an invalidation rate of
   73 percent. Of claims for which trial was instituted, 3,350 were not subject to a final written
   decision, mostly because the trial settlement (2,136 claims were “No FWD” in slide 16).


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   addressed in this action, and thus save the Parties from spending time conducting discovery,

   researching, and briefing the issues.”); Targus, 2021 WL 542675, at *2 (holding second factor

   favored stay where “any streamlining of the issues or invalidated issues will save judicial

   resources.”).

          This is a large and complex patent litigation involving nine asserted patents and 29 asserted

   claims that will require litigation of a wide range of facts and issues concerning claim construction,

   noninfringement, and invalidity. For example, each asserted patent involves a distinct set of prior

   art that is different from the prior art for the other patents. Even if just a few asserted patents are

   invalidated by the IPRs, this case will be simplified because claim construction, fact discovery,

   and expert discovery would be mooted for each patent that is invalidated.

          A stay would also simplify the issues because the IPRs “will become part of the intrinsic

   record of the [] patents at issue.” Intell. Ventures I, 2014 WL 12584301, at *2. Sisvel will likely

   take positions in the IPRs that will inform this Court’s analyses—as it has already done. As one

   clear example, in its pre-institution filings, Sisvel requested that the USPTO construe the term

   “Enhanced Absolute Grant Channel” in order to avoid prior art; while Sisvel did not request any

   construction of that term before this Court, Sisvel’s statement is now a part of the patent’s intrinsic

   record, and may necessitate consideration by this Court. Lee Declaration Ex. 3 (’625 patent owner

   response). A stay pending IPR would allow Sisvel’s positions regarding the scope of its patents

   to become clear and allow the USPTO to consider those statements on their merits. Most
   importantly, it would allow HMD to exercise its right to defend itself in view of all of Sisvel’s

   statements about its patents, not only those it makes to this Court.6



   6
     A party who requests an IPR that results in a final written decision from the USPTO is estopped
   from raising invalidity defenses that were “raised or reasonably could have [been] raised during
   that inter partes review.” 35 U.S.C. § 315(e)(2). HMD is not a party to the IPR proceedings
   against Sisvel’s patents so this estoppel does not apply to HMD. Even so, the IPR proceedings
   will significantly narrow the issues before this Court. Further, were the Court to conclude that it
   would benefit the Court for HMD to be estopped as though it were a party to the IPR proceedings,
   HMD would consent to that estoppel in the interest of staying the case.


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          C.       This Case Is At An Early Stage, And A Stay Would Be Appropriate At This
                   Time
          The third factor also favors stay because the case is in its early stages. There have been no

   fact depositions, no substantive claim construction hearing or rulings, no expert reports or

   depositions (other than for claim construction), and no dispositive motions. Intell. Ventures I,

   LLC, 2014 WL 12584301, at *2 (case in its early stages where the “Court has not yet held claim

   construction hearing” and “[f]act discovery has not yet completed, expert discovery has not yet

   commenced, and dispositive motions have not yet been filed.”); Rothschild, 2015 WL 12715618,

   at *2 (same). Judge Noreika identified the similar posture of the Delaware Sisvel 2 cases as

   supportive of her decision to stay those cases.

          Courts have found that a stay is appropriate even as to cases farther along than this one.

   Prisua Eng’g Corp., 472 F. Supp. 3d at 1186 (finding factor weighed “slightly in favor of ... the

   stay” despite jury verdict finding claims valid because of the risk of inconsistent ruling from the

   USPTO). For example, in Prisua, the Court found this factor weighed in favor of stay after a jury

   verdict found the patents valid. A stay would avoid inconsistent results between this Court’s

   rulings of invalidity at the summary judgment stage or a jury verdict of invalidity and the USPTO’s

   decision. Id.

          Here, not only is the case in its early stages, but a significant modification to the schedule

   is already necessary for several reasons. Therefore, a stay would have less impact on this case

   than if a significant modification to the schedule were not necessary.
          First, by agreement of the parties, claim construction will be referred to a Special Master.

   The parties have identified proposed candidates, and the Court is expected to appoint a Special

   Mater this week, by July 22, 2021. Following appointment, the Special Master will need time to

   study the existing record, hold an oral argument, and issue a report and recommendation. The

   parties previously raised with the Court the need to modify the schedule accordingly.

          Staying the case now is especially appropriate—before the Special Master and the parties

   devote significant time and effort to the remaining claim construction activities, including the

   Special Master’s report and recommendation and possible subsequent motion practice. Such work


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   could be rendered moot if the asserted patents are invalidated by the IPRs. Furthermore, a stay

   would allow the Special Master the benefit of the USPTO’s specialized insight into the claim terms

   and scope from the IPRs.

          Second, this case will involve significant foreign discovery, including document and

   depositions, because the parties themselves and many third parties with relevant information are

   foreign. In April 2021, HMD moved for foreign discovery from ETSI pursuant to the Hague

   Convention. ECF No. 83. On May 21, 2021, the French Ministry of Justice authorized the request

   but forwarded the matter to the provincial court, the First Instance Court of Grasse, for execution.

   ECF No. 100. Discovery from ETSI is critical because Sisvel’s infringement theories are based

   on the contention that the asserted patents are essential to the 3G and 4G standards and because

   prior art that invalidates some patents comes from ETSI. Discovery from ETSI is necessary at

   least: (1) to show how the standards alleged to be infringed in this case were developed; (2) to

   determine whether there are any patent rights associated with those standards and the FRAND

   obligations associated with such patent rights; (3) to determine whether ETSI has relevant prior

   art of which HMD is not currently aware; (4) to authenticate and establish the public availability

   of prior art that HMD has already discovered in this case. Furthermore, discovery might be

   necessary from Nokia, Blackberry, and LG Electronics, the companies that originally developed

   and owned the asserted patents. Sisvel’s initial disclosures further identify 22 foreign third-party

   individuals with knowledge concerning the origins of the purported inventions, the prosecution of
   the patents before the USPTO, and prior art. Lee Declaration Ex. 4.

          D.      The Totality Of Circumstances Favors A Stay
          Although “courts often deny stays when they are sought before the PTAB [USPTO] has

   decided to institute review, this is not [a] bright-line rule.” Targus, 2021 WL 542675, at *1

   (staying one-patent case prior to institution decision). In Targus, after considering each of the

   relevant factors Judge Scola stayed the case prior to the USPTO’s institution decision. However,

   that case involved only one patent. This case presents even greater benefit to staying prior to

   institution because there is more likelihood that at least some of the petitions will be instituted. In


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   the Sisvel 1 cases, the patent offices instituted review of 65 of 66 challenged claims. Here, the

   patent office is likely to institute review of many challenged claims given the similarities to the

   patents in the Sisvel 1 cases.

          The optimal time to stay the case is now. Institution decisions are not expected until

   September at the earliest and the final institution decision is not expected until November. If the

   Court were to wait for institution decisions in the IPRs before staying this case, a significant

   portion of the benefits of the stay will be missed. The Special Master would carry out claim

   construction activities on patents that are likely to be found invalid. The parties will spend time

   and resources conducting fact discovery (including foreign discovery) and expert discovery on

   issues that may be mooted by the IPR proceedings.

          In sum, the parties and the Court should not be forced to waste more resources litigating

   patents that the patent office may find invalid. Congress itself envisioned that IPR proceedings

   would serve as a cost-effective and efficient method to weed out invalid patents like the ones Sisvel

   asserts here. IPR proceedings are an alternative to more costly district court litigation that can

   greatly simplify the issues and cull large patent litigations such as this one.




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   V.     CONCLUSION
          For all of the above reasons, the Court should stay the litigation pending IPR proceedings

   challenging the validity of every asserted patent in this case.

   VI.    LOCAL RULE 7.1 CERTIFICATION
          Counsel for HMD has conferred with counsel for Sisvel about the relief sought in this

   Motion in a good faith effort to resolve the issues raised in the Motion and has been unable to do

   so.




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   Dated: July 20, 2021                       Respectfully submitted,



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                                   CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on this 20th day of July, 2021, I electronically filed the
   foregoing with the Clerk of Court by using the CM/ECF system which served a copy on the
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